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                                                                 Order Filed on February 1, 2019
                                                                 by Clerk
                                                                 U.S. Bankruptcy Court
                                                                 District of New Jersey




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